           Case 3:11-cr-01448-MMA                    Document 1622                 Filed 01/15/14            PageID.6169              Page 1 of
                                                                             4
     ~o 245B      (Rev. 9/00) Judgment in a Criminal Case
                  Sheet 1                                                                                                       F·- 0
                                             UNITED STATES DISTRICT COURfitf JrlN 15 PM 3: 53
                                                 SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE                               I.'l?7
                                       v.                                        (For Offenses Committed On or After November 1, 1-$7~

                ADAM CASSANOVA ANDERSON (04),                                    Case Number: 11 CR1448-MMA
                                                                                 Knut S. Johnson
                                                                                 Defendant's Attomey
    REGISTRATION NO. 37184308

    D
    THE DEFENDANT:
     181pleaded guilty to count(s) ONE OF THE INDICTMENT
     o      was found guilty on count(s)_ _ _ _ _ _ _ _ _~_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                       Count
    Title & Section                         Nature of Offense                                                                         Numberlsl
18 USC 1962(d)                       Conspiracy to Conduct Enterprise Affairs Through A Pattern of Racketeering                       1
                                     Activity




        The defendant is sentenced as provided in pages 2 through     4     of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D    The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 181 Count(s) remaining and Underlying Indictment                                 is   181   areD dismissed on the motion of the United States.
 181 Assessment: $100.00 Waived


 \81 Fine waived                                  o   Forfeiture pursuant to order filed                                  , included herein.
       IT IS ORDERED that the defendant shall notifY the United States attomey for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by t~dgment are fully paid. Ifordered to pay restitution, the
 defendant shall notifY the court and United States attorney of any material change ~eferl.dant's economic circumstances.




                                                                           UNITED STATES DISTRICT runGE

                                                                                                                                          IICRI448-MMA
   Case 3:11-cr-01448-MMA                           Document 1622         Filed 01/15/14      PageID.6170            Page 2 of
                                                                     4
AO 245B     (Rev. 9/00) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                             Judgment - Page    2     of       4
 DEFENDANT: ADAM CASSANOVA ANDERSON (04),
 CASE NUMBER: llCRl448MMMA
                                                            IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          TIME SERVED AS OF 111412014



   o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:

    o The defendant is remanded to the custody ofthe United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                     Oa.m.    Op.m.       on _~_ _ _ _ _ _ _ _ __
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           0 ___________________________________________________
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                               RETURN

 I have executed this judgment as follows:

          Defendant delivered on                                                 to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ • with a certified copy ofthis judgment.


                                                                                           UNITED STATES MARSHAL

                                                                     By
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                    llCRl448-MMA
       Case 3:11-cr-01448-MMA                       Document 1622            Filed 01/15/14            PageID.6171              Page 3 of
                                                                         4
AO 245D      (Rev. 3/10) Judgment in a Criminal Case for Revocations
             Sheet 3 Supervised Release
                                                                                                          Judgment-Page    --l.- of _ _..:.4_ __
DEFENDANT: ADAM CASSANOV A ANDERSON (04),                                                         II
CASE NUMBER: llCRI44S-MMA
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FIVE (05) YEARS

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
(81    The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
181    Backing Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
o      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)

o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
  I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 11)     the defendant shaH notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by thedefendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.
                                                                                                                                 11CR144S-MMA
Case 3:11-cr-01448-MMA                          Document 1622        Filed 01/15/14           PageID.6172             Page 4 of
                                                                4
AO 245B   (Rev. 9/00) Judgment in a Criminal Case
          Sheet 4    Special Conditions
                                                                                               Judgment-Page     '+    of __4_____
DEFENDANT:              ADAM CASSANOVA ANDERSON (04),                                                  II
CASE NUMBER: llCR1448-MMA

                                      SPECIAL CONDITIONS OF SUPERVISION
1. Resolve all outstanding warrants within 60 days.

2. Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and
   in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release;
   failure to submit to a search may be grounds for revocation; the defendant shall warn any other residents that the premises may
   be subject to searches pursuant to this condition.

3. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as
  directed by the probation officer. Allow for reciprocal release of information between the probation officer and the treatment
  provider. May be required to contribute to the costs of services rendered in an amount to be determined by the probation officer,
  based on ability to pay.

4. Shall not associate with any known probationer, parolee, or gang member, including but not limited to any Insane Crips affiliate,
   or anyone specifically disapproved by the probation officer.

5. Shall not possess, wear, use or display or have in his possession any item associated with gang dress or any item prohibited by
   the probation officer, including but not limited to any insignia, emblem, badge, cap, hat, scarf, bandanna, or any article of
   clothing, hand sign or paraphernalia associated with membership or affiliation in any gang including but not limited to any Crips
   gang faction.

6. The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act
   (42 U.S.c. § 16901, et. seq.) as directed by the probation officer, the Bureau of Prisons, or any other state sex offender
   registration agency in which he or she resides, works or is a student or was convicted of a qualifying offense.




                                                                                              llCRl448-MMA
